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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20) O Original © Duplicate Original

 

 

UNITED STATES DISTRICT COURT LODGED

CLERK, U.S. DISTRICT COURT

10/28/21

CENTRAL DISTRICT OF CALIFORNIA

 

for the

Central District of California

 

 

 

 

 

 

 

 

 

 

 

 

 

 

United States of America BY: _f0__ DEPUTY
FILED
V. CLERK, U.S. DISTRICT COURT
RIGOBERTO MORENO-MACHUCA and Case No. 2:21-mj-04975-DUTY | | 10/28/2021
OLIVER RANGEL-ARMENTA, CENTRAL DISTRICT OF CALIFORNIA
BY: clee DEPUTY
Defendant(s)

 

 

CRIMINAL COMPLAINT BY TELEPHONE
OR OTHER RELIABLE ELECTRONIC MEANS

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of October 27, 2021, in the county of Los Angeles in the Central District of California,
the defendant(s) violated:
Code Section Offense Description

21 U.S.C. § 841(a)(1) Possession with Intent to Distribute a
Controlled Substance

This criminal complaint is based on these facts:
Please see attached affidavit.
[] Continued on the attached sheet.

Kyle Hegarty

Complainant’s signature

 

Kyle Hegarty, DEA Special Agent
Printed name and title
Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

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Date: October 28, 2021

 

Judge’s signature

City and state: Los Angeles, California Hon. Steve Kim, U.S. Magistrate Judge

Printed name and title

 

AUSA: Maxwell Coll — 213-894-1785

 
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AFFIDAVIT
I, Kyle Hegarty, being duly sworn, declare and state as follows:
I. PURPOSE OF AFFIDAVIT

: This affidavit is made in support of a criminal
complaint and arrest warrants against Rigoberto MORENO-MACHUCA
(“MORENO-MACHUCA”) and Oliver RANGEL-ARMENTA (“RANGEL-ARMENTA” )
for a violation of 21 U.S.C. § 841(a) (1): Possession with Intent
to Distribute a Controlled Substance.

Zs This affidavit is also made in support of an
application for a warrant to search the following digital
devices (collectively, the “SUBJECT DEVICES”), in the custody of
the Drug Enforcement Administration in Los Angeles, California,
as described more fully in Attachment A:

a) One black MaxWest flip cellphone, booked as non-drug

exhibit N-26 under case number R1-20-0079 (“SUBJECT
DEVICE 1”);

b) One Android cellphone, booked as non-drug exhibit N-27

under case number R1-20-0079 (“SUBJECT DEVICE 2”); and

@) One black MaxWest flip cell phone, booked as non-drug

exhibit N-25 under case number R1-20-0079 (“SUBJECT
DEVICE 3”).

Ss The requested search warrant seeks authorization to
seize evidence, fruits, or instrumentalities of violations of 21
U.S.C. § 841(a) (1) (possession with intent to distribute
controlled substances) and 21 U.S.C. § 846 (conspiracy and

attempt to distribute controlled substances) (the “Subject
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Offenses”), as described more fully in Attachment B.
Attachments A and B are incorporated herein by reference.

4. The facts set forth in this affidavit are based upon
my personal observations, my training and experience, and
information obtained from various law enforcement personnel and
witnesses. This affidavit is intended to show merely that there
is sufficient probable cause for the requested complaint, arrest
warrants, and search warrant, and does not purport to set forth
all of my knowledge of or investigation into this matter.

Unless specifically indicated otherwise, all conversations and
statements described in this affidavit are related in substance
and in part only.

II. BACKGROUND OF AFFIANT

 

5 I am a Special Agent (“SA”) with the United States
Drug Enforcement Administration (“DEA”) and have been so
employed since March of 2019. The DEA is responsible for
investigating Title 21 crimes, including the activities of both
national and international drug trafficking organizations. I am
currently assigned to the DEA’s Los Angeles Field Division, High
Intensity Drug Trafficking Area Group 51 (“HIDTA 51”). HIDTA 51
investigates large-scale drug organizations operating in the
Southern California area and elsewhere. I received 16 weeks of
narcotics law enforcement training at the DEA Basic Agent
Training at the DEA Academy, Quantico, Virginia. Through the
DEA Academy and continuing education, I have received extensive
training on conducting federal narcotics investigations,

investigative techniques, conducting undercover operations,
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interviewing witnesses and subjects, developing sources, and
search and seizure of evidence, among other things.

6. Between June of 2013 and March of 2019, I was employed
as a police officer with the Bast Hartford Police Department in
Connecticut. I conducted local narcotics investigations as an
investigator with the Vice, Intelligence, and Narcotics unit,
resulting in the arrest and prosecution of numerous drug
traffickers and violent offenders.

Bs Based on this training, experience, and conversations
with other narcotics investigators, I am familiar with drug
traffickers’ methods of operation including the distribution,
storage, and transportation of drugs, as well as the collection
of drug proceeds and methods of money laundering used to conceal
the nature of the proceeds. I have received training and
collaborated with other law enforcement officers regarding the
unlawful importation, possession, and distribution of controlled
substances. Based on this experience and work with other law
enforcement agents, I am familiar with public corruption
statutes and money-laundering statutes involving the proceeds of
specified unlawful activities and conspiracies associated with
criminal narcotics, in violation of Titles 18 and 21 of the
United States Code. I also speak regularly with narcotics
investigators at the federal, state, and local level, as well as
drug traffickers and informants, regarding the manner in which

drug traffickers store, sell, and transport narcotics.
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IIIT. SUMMARY OF PROBABLE CAUSE

 

8. During the month of October 2021, a confidential
source (“CS”) conversed with an individual using a Mexican phone
number about purchasing 6 kilograms of fentanyl in Los Angeles,
California. Specifically, in audio-recorded phone calls, CS
communicated with an individual who used a Mexican phone number
ending in 2004 (the “broker”). The broker agreed that CS would
receive 6 kilograms of fentanyl on credit and pay for the drugs
after they were resold. The broker coordinated with CS to
transfer 6 kilograms of fentanyl to CS on or around October 27,
2021, in Diamond Bar, California.

9. On or around October 27, 2021, the broker connected CS
with the broker’s source of supply in Los Angeles. That
morning, CS received a phone call from a telephone number ending
in 1092. The caller identified himself in Spanish as calling on
behalf of the broker and stated to CS that they needed to meet
in order to provide CS the “tools.” CS then received a text
message from the number ending in 1092 providing an address on
Gold Rush Drive in Diamond Bar, California (hereinafter the
“Gold Rush Address”).

10. At approximately 5:00 p.m. on or around October 27,
2021, CS, followed closely by investigators, drove to the Gold
Rush Address. Near the Gold Rush Address, Task Force Officer
(“TFO”) Pena observed an older model red Ford Explorer parked on
the street. TFO Pena had observed the driver, a Hispanic male,
approximately 35 years old with a beard, speaking on a

cellphone. TFO Pena then observed a dark gray Honda Pilot,
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California license plate number 5YFB580, drive past the red
Explorer. The red Explorer pulled away from the curb line and
drove out of the area. Simultaneously, CS pulled in front of
the Gold Rush Address, and the Honda Pilot conducted a U-

turn and parked on the South curb line. A Hispanic male, later
identified as MORENO-MACHUCA, exited the front passenger seat of
the Honda Pilot and walked towards CS. The Honda Pilot,
operated by a Hispanic male later identified as Oliver RANGEL-
ARMENTA, drove out of the area.

11. MORENO-MACHUCA attempted to enter CS’s car and told CS
the fentanyl was in the Honda Pilot. When MORENO-MACHUCA
stepped away from CS’s vehicle and appeared to make a phone
call, CS called investigators and advised them that the fentanyl
was inside the Honda Pilot. Moments later, the Honda Pilot
pulled up next to MORENO-MACHUCA, who flailed his arms and
signaled for the vehicle to keep driving. At this time, I
believed the two men had spotted surveillance vehicles and knew
of police presence.

12. Subsequently, agents detained MORENO-MACHUCA on foot
without incident. I observed MORENO-MACHUCA attempt to place a
cellphone in his right jacket pocket (SUBJECT DEVICE 1), and I
recovered a second Android phone from his right jacket pocket
(SUBJECT DEVICE 2). HIDTA 51 investigators and LAPD air support
maintained surveillance of the Honda Pilot as it traveled East
bound on Golden Springs Drive towards Diamond Bar Boulevard.
Assisting uniform LAPD K9 Officers Suviate and Delrio conducted

a vehicle stop of the Honda Pilot on Golden Springs Drive and

 

 
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took the driver, RANGEL-ARMENTA, into custody without incident.
TFO Al Vicencio located a black MaxWest flip phone in RANGEL-
ARMENTA’s rear pants pocket (SUBJECT DEVICE 3).

13. Officers read RANGEL-ARMENTA his Miranda rights.
After admonishments, RANGEL-ARMENTA consented to a search of the
vehicle. LAPD K9 Officer D. Suviate also deployed her narcotics
detection K9 in the area of the vehicle. Her K9 alerted to the
presence of illegal drugs inside the vehicle. In the front
passenger floorboard of the vehicle was a blue Bud Light box.
Inside the box, TFO Do discovered six rectangular, brick-like
packages wrapped in black tape marked “TREVOL YERNO” in black
lettering. Based on my experience, the packaging was consistent
with the packaging of illegal drugs. The suspected fentanyl had
an approximate weight, including packaging, of 8.25 kilograms.
Due to the dangers of contact with fentanyl, the Drug
Enforcement Administration did not field test illegal drugs.
The suspected drugs will be transported to the DEA laboratory
for testing.

IV. STATEMENT OF PROBABLE CAUSE

14. Based on my review of law enforcement reports, my
personal observations, my review of the evidence, and my
conversations with other law enforcement officers who were
involved in this investigation and a confidential source (the

“cs”)1!, I am aware of the following:

 

1 CS has cooperated with the DEA since 2019. Since that
time, CS has provided information for over 15 investigations,
both foreign and domestic, including many involving drug and

(footnote cont’d on next page)
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A. In October 2021, a Mexico-based Source of Supply
Coordinates the Sale of Fentanyl in Los Angeles County

15. During the month of June 2021, members of the HIDTA
Group 51 began investigating a Sinaloa, Mexico-based
fentanyl source of supply (the broker). Throughout the course
of the ongoing investigation into the broker’s Drug Trafficking
Organization, HIDTA 51 investigators have seized approximately
17 kilograms of fentanyl.

16. During the month of October 2021, CS communicated with
the broker by phone. The broker used a Mexican phone number
ending in 2004. Through numerous recorded phone calls, CS
coordinated the acquisition of approximately 6 kilograms of
fentanyl in Los Angeles, California. The broker agreed that CS
would receive approximately 6 kilograms of fentanyl on credit
and pay for the drugs after they were resold. CS coordinated
with the broker to pick up the approximately 6 kilograms of
fentanyl on or around October 27, 2021.

B. The Broker Connects CS with a Los Angeles-Based Source
of Supply to Transfer 6 Kilograms of Fentanyl

17. On or around October 27, 2021, the broker connected CS
with a Los Angeles-based source of supply.

18. Specifically, at approximately 11:14 a.m. on or around
October 27, 2021, CS received a phone call from a telephone
number ending in 1092, followed by subsequent phone calls from

the same number. During the phone calls, a Spanish-speaking

 

firearm seizures. The information provided by CS has been
corroborated and has been proven to be reliable. CS has been
convicted of a drug trafficking offense in the United States.
CS is working with the DEA for financial compensation.
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male confirmed that he was calling CS on behalf of the broker.
The man said to CS that they needed to meet so he could give
CS the “tools.”

19. At approximately 11:17 a.m. on or around October 27,
2021, CS received a text message from the phone number ending in
1092. The text message provided CS with an address in Diamond
Bar, California (the Gold Rush Address).

20. At approximately 4:00 p.m. on or around October 27,
2021, investigators met with CS in Los Angeles, California. At
the location, I searched CS’s person and vehicle for the
presence of weapons, contraband, and extra currency. The search
was negative. CS was then outfitted with an audio and video
recording device. Followed closely by investigators, CS
traveled to the parking lot of a restaurant located at 205 South
Diamond Bar Boulevard, Diamond Bar, California.

21. At approximately 4:33 p.m. on or around October 27,
2021, CS called the phone number ending in 1092 while CS was in
the parking lot. CS spoke with a Spanish-speaking male, who
advised CS that the male would not travel to the restaurant, and
that CS would need to meet at the Gold Rush Address. The man
advised CS that he did not live at the Gold Rush Address and

that they could complete the drug transaction in the street.

 

2 While the video-recording device did function during the
subsequent events, the audio-recording did not function properly
and audio was thus was not captured.
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Cc. CS Meets MORENO-MACHUCA Near the Gold Rush Address
and Discusses the Transfer of 6 Kilograms of Fentanyl

22. At approximately 4:42 p.m. on or around October 27,
2021, TFO Servando Pena was positioned on surveillance in front
of the Gold Rush Address. TFO Pena observed an older model red
Ford Explorer park on the street in front of the address. TFO
Pena observed the driver, a Hispanic male, approximately 35
years old, with a beard, in the driver’s seat. TFO Pena
observed the man on a cellphone. TFO Pena noted the residential
street was guiet with little to no traffic. TFO Pena suspected
the man was involved in the drug transaction due to his
proximity to the Gold Rush Address.

23. At approximately 4:52 p.m. on or around October 27,
2021, CS placed another phone call to the telephone number
ending in 1092. TFO Pena again observed the driver of the red
Ford Explorer speaking on a cellphone.

24. At approximately 5:00 p.m. on or around October 27,
2021, CS began driving to the area of the Gold Rush
Address. TFO Pena observed a dark gray Honda Pilot, California
license plate number 5YFB580, drive past the red Explorer. The
red Explorer then pulled away from the curb line.
Simultaneously, CS pulled in front of the Gold Rush Address,
and the Honda Pilot conducted a U-turn and parked on
the South curb line.

25. A Hispanic male, later identified as Rigoberto MORENO-
MACHUCA, exited the front passenger seat of the Honda Pilot and

walked towards CS. The Honda Pilot, operated by another

 

 

 

 
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Hispanic male, later identified as Oliver RANGEL-ARMENTA, drove
away East bound on Gold Rush Drive, out of the area.

26. CS spoke with MORENO-MACHUCA, who initiated a
conversation. I conducted a debrief with CS following the
operation. CS stated to me that MORENO-MACHUCA told CS he did
not want to do the deal in the area because there were too many
cameras. CS stated to me that MORENO-MACHUCA tried to enter
CS’s vehicle. CS did not allow MORENO-MACHUCA to enter the
vehicle. CS stated to me that MORENO-MACHUCA told CS to follow
him and the Honda Pilot because they had the kilograms of
fentanyl in the vehicle. CS stated to me that MORENO-MACHUCA
then stepped away from the vehicle to place a phone call. At
this time, CS called SA Hegarty and SA Mendoza and advised them
that MORENO-MACHUCA had indicated the fentanyl was inside the
Honda Pilot.

27. At approximately 5:05 p.m. on or around October 27,
2021, TFO Pena observed MORENO-MACHUCA step away from CS’s
vehicle and begin speaking on his cellphone while walking West
bound on Gold Rush Drive. A HIDTA 51 surveillance vehicle drove
past MORENO-MACHUCA, and MORENO-MACHUCA began walking at a
faster pace. Moments later, the Honda Pilot reappeared,
operated by RANGEL-ARMENTA. The vehicle pulled next to MORENO-
MACHUCA as if to pick him up. MORENO-MACHUCA flailed his arm
and signaled for the vehicle to keep driving West bound on Gold
Rush Drive. I believed the two men had spotted surveillance

vehicles and knew of the police presence.

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D. Agents Detain MORENO-MACHUCA and Seize SUBJECT DEVICE
1 and SUBJECT DEVICE 2

28. At this time, I decided to detain MORENO-MACHUCA. SA
Mendoza and I detained MORENO-MACHUCA on foot without incident.
While detaining MORENO-MACHUCA, I observed MORENO-MACHUCA try to
stuff a black Max West flip phone (SUBJECT DEVICE 1) in his
right jacket pocket. I recovered a second Android phone
(SUBJECT DEVICE 2) from his right jacket pocket.

E. Law Enforcement Officials Conduct a Vehicle Stop of
the Honda Pilot and Seize Bricks of Apparent Fentanyl

29. HIDTA 51 investigators and assisting LAPD air
support maintained constant surveillance of the Honda Pilot as
it traveled East bound on Golden Springs Drive towards Diamond
Bar Boulevard. Assisting uniform LAPD K9 Officers Suviate and
Delrio conducted a vehicle stop on Golden Springs Drive, east
of Diamond Bar Boulevard. The driver, RANGEL-ARMENTA, was taken
into custody without incident. When taken into custody, TFO Al
Vicencio located a black Max West flip phone in RANGEL-ARMENTA's
rear pants pocket (SUBJECT DEVICE 3).

30. Group Supervisor (“GS”) Robert Quezada admonished
RANGEL-ARMENTA of his Miranda rights. GS Quezada and TFO Duarte
spoke with RANGEL-ARMENTA moments later. This conversation took
place in Spanish and was recorded. GS Quezada asked if there
was anything in the car and RANGEL-ARMENTA stated he was given a
box to give to someone but did not know what was inside. TFO
Duarte asked for consent to search the vehicle and RANGEL-

ARMENTA responded yes.

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31. LAPD K9 Officer Suviate deployed her narcotics
detection K9 in the area of the vehicle. Her K9 alerted to the
presence of illegal drugs inside the vehicle. TFO Vinh Do took
photographs of the vehicle and subsequently conducted a search.
In the front passenger floorboard of the vehicle was a blue Bud
Light box. During a search of the Bud Light box, TFO Do found
six rectangular, brick-like packages wrapped in black tape and
marked “TREVOL YERNO” in black lettering. Based on my training
and experience, the packaging was consistent with the packaging
of kilograms of illegal drugs.

32. TFO Pena and I transported MORENA-MACHUCA to the area
of the vehicle stop. SA Mendoza admonished MORENA-MACHUCA of
his Miranda rights. MACHUCA-MORENO stated that RANGEL-~ARMENTA
was a friend and provided vague answers to questions. RANGEL-
ARMENTA then requested an attorney. RANGEL-ARMENTA and MORENA-
MACHUCA were temporarily transported to HIDTA and subsequently
held at the Montebello Police Department.

F. Agents Take Custody of Suspected Fentanyl and the
SUBJECT DEVICES

33. I took custody of the suspected fentanyl and other
evidence and transported it to HIDTA for processing. The
suspected fentanyl had an approximate aggregate weight of 8.25
kilograms, including packaging. Due to the dangers associated
with contact with fentanyl, agents did not field test suspected
drugs. The suspected fentanyl was temporarily stored at HIDTA

and will be transferred to the DEA’s South West Regional

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Laboratory (“SWRL”), where it will be tested and the exact
weight will be determined.

V. TRAINING AND EXPERIENCE ON DRUG OFFENSES

 

34. Based on my training and experience and familiarity
with investigations into drug trafficking conducted by other law
enforcement agents, I know the following:

a) Drug trafficking is a business that involves
numerous co-conspirators, from lower-level dealers to higher-
level suppliers, as well as associates to process, package, and
deliver the drugs and launder the drug proceeds. Drug
traffickers often travel by car, bus, train, or airplane, both
domestically and to foreign countries, in connection with their
illegal activities in order to meet with co-conspirators,
conduct drug transactions, and transport drugs or drug proceeds.

b) Drug traffickers often maintain books, receipts,
notes, ledgers, bank records, and other records relating to the
manufacture, transportation, ordering, sale and distribution of
illegal drugs. The aforementioned records are often maintained
where the drug trafficker has ready access to them, such as on
their cell phones and other digital devices.

c) Communications between people buying and selling
drugs take place by telephone calls and messages, such as e-
mail, text messages, and social media messaging applications,
sent to and from cell phones and other digital devices. This
includes sending photos or videos of the drugs between the
seller and the buyer, the negotiation of price, and discussion

of whether or not participants will bring weapons to a deal. In

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addition, it is common for people engaged in drug trafficking to
have photos and videos on their cell phones of drugs they or
others working with them possess, as they frequently send these
photos to each other and others to boast about the drugs or
facilitate drug sales.

d) Drug traffickers often keep the names, addresses,
and telephone numbers of their drug trafficking associates on
their digital devices. Drug traffickers often keep records of
meetings with associates, customers, and suppliers on their
digital devices, including in the form of calendar entries and
location data.

e) Individuals engaged in the illegal purchase or
sale of drugs and other contraband often use multiple digital
devices.

VI. TRAINING AND EXPERIENCE ON DIGITAL DEVICES?

35. As used herein, the term “digital device” includes the
SUBJECT DEVICES.

36. Based on my training, experience, and information from
those involved in the forensic examination of digital devices, I
know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

 

3 As used herein, the term “digital device” includes any
electronic system or device capable of storing or processing
data in digital form, including central processing units;
desktop, laptop, notebook, and tablet computers; personal
digital assistants; wireless communication devices, such as
paging devices, mobile telephones, and smart phones; digital
cameras; gaming consoles; peripheral input/output devices, such
as keyboards, printers, scanners, monitors, and drives; related
communications devices, such as modems, routers, cables, and
connections; storage media; and security devices.

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a. Forensic methods may uncover electronic files or
remnants of such files months or even years after the files have
been downloaded, deleted, or viewed via the Internet. Normally,
when a person deletes a file on a computer, the data contained
in the file does not disappear; rather, the data remain on the
hard drive until overwritten by new data, which may only occur
after a long period of time. Similarly, files viewed on the
Internet are often automatically downloaded into a temporary
directory or cache that are only overwritten as they are
replaced with more recently downloaded or viewed content and may
also be recoverable months or years later.

Ds Digital devices often contain electronic evidence
related to a crime, the device’s user, or the existence of
evidence in other locations, such as, how the device has been
used, what it has been used for, who has used it, and who has
been responsible for creating or maintaining records, documents,
programs, applications, and materials on the device. That
evidence is often stored in logs and other artifacts that are
not kept in places where the user stores files, and in places
where the user may be unaware of them. For example, recoverable
data can include evidence of deleted or edited files; recently
used tasks and processes; online nicknames and passwords in the
form of configuration data stored by browser, e-mail, and chat
programs; attachment of other devices; times the device was in
use; and file creation dates and sequence.

Ss The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

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who used it. For example, showing the absence of certain
software on a device may be necessary to rebut a claim that the
device was being controlled remotely by such software.

d. Digital device users can also attempt to conceal
data by using encryption, steganography, or by using misleading
filenames and extensions. Digital devices may also contain
“booby traps” that destroy or alter data if certain procedures
are not scrupulously followed. Law enforcement continuously
develops and acquires new methods of decryption, even for
devices or data that cannot currently be decrypted.

37. Based on my training, experience, and information from
those involved in the forensic examination of digital devices, I
know that it can take a substantial period of time to search a
digital device for many reasons, including the following:

a. Digital data are particularly vulnerable to
inadvertent or intentional modification or destruction. Thus,
often a controlled environment with specially trained personnel
may be necessary to maintain the integrity of and to conduct a
complete and accurate analysis of data on digital devices, which
may take substantial time, particularly as to the categories of
electronic evidence referenced above.

B. Digital devices capable of storing multiple
gigabytes are now commonplace. As an example of the amount of
data this equates to, one gigabyte can store close to 19,000
average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

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38. The search warrant requests authorization to use the
biometric unlock features of a device, based on the following,
which I know from my training, experience, and review of
publicly available materials:

a. Users may enable a biometric unlock function on
some digital devices. To use this function, a user generally
displays a physical feature, such as a fingerprint, face, or
eye, and the device will automatically unlock if that physical
feature matches one the user has stored on the device. To
unlock a device enabled with a fingerprint unlock function, a
user places one or more of the user’s fingers on a device’s
fingerprint scanner for approximately one second. To unlock a
device enabled with a facial, retina, or iris recognition
function, the user holds the device in front of the user’s face
with the user’s eyes open for approximately one second.

by In some circumstances, a biometric unlock
function will not unlock a device even if enabled, such as when
a device has been restarted or inactive, has not been unlocked
for a certain period of time (often 48 hours or less), or after
a certain number of unsuccessful unlock attempts. Thus, the
opportunity to use a biometric unlock function even on an
enabled device may exist for only a short time. I do not know
the passcodes of the devices likely to be found in the search.

Gx The person who is in possession of a device or
has the device among his or her belongings is likely a user of
the device. Thus, the warrant I am applying for would permit

law enforcement personnel to, with respect to any device that

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appears to have a biometric sensor and falls within the scope of
the warrant: (1) depress MORENO-MACHUCA’s thumb- and/or fingers
on the device(s); and (2) hold the device(s) in front of MORENO-
MACHUCA’s face with his or her eyes open to activate the facial-
, iris-, and/or retina-recognition feature.

39. Other than what has been described herein, to my
knowledge, the United States has not attempted to obtain this
data by other means.

VII. CONCLUSION

40. For all of the reasons described above, there is
probable cause to believe that Rigoberto MORENO-MACHUCA and
Oliver RANGEL-ARMENTA have committed a violation of 21 U.S.C.

§ 841(a) (1): Possession with Intent to Distribute a Controlled
Substance. There is also probable cause that the items to be
seized described in Attachment B will be found in a search of

the SUBJECT DEVICES described in Attachment A.

Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this 28th day of

October _, 2021.

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THE HONORABLE STEVE KIM
UNITED STATES MAGISTRATE JUDGE

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